

Matter of Joshua A. (Nicole F.) (2022 NY Slip Op 06398)





Matter of Joshua A. (Nicole F.)


2022 NY Slip Op 06398


Decided on November 10, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 10, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, NEMOYER, CURRAN, AND BANNISTER, JJ.


900 CAF 21-00713

[*1]IN THE MATTER OF JOSHUA A. AND REBECCA A. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; NICOLE F., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






DAVID J. PAJAK, ALDEN, FOR RESPONDENT-APPELLANT.
ANAISS RIJO LELONEK, BUFFALO, FOR PETITIONER-RESPONDENT.
JENNIFER Z. BLACKHALL, CHEEKTOWAGA, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered September 22, 2020 in a proceeding pursuant to Family Court Act article 10. The order, inter alia, found that respondent had neglected the subject children. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Family Court.
Entered: November 10, 2022
Ann Dillon Flynn
Clerk of the Court








